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15
     PAUL SNITKO, JENNIFER SNITKO,          Case No. 2:21-CV-04405-RGK-MAR
16   JOSEPH RUIZ, TYLER GOTHIER, JENI
     VERDON-PEARSONS, MICHAEL STORC,        DECLARATION OF LYNNE ZELLHART IN
17   AND TRAVIS MAY,                        SUPPORT OF DEFENDANTS’ OPPOSITION
                                            TO MOTION FOR PRELIMINARY
18            Plaintiffs,                   INJUNCTION AND FOR PROVISIONAL
                                            CLASS CERTIFICATION FILED BY
19                  v.                      MOVING PLAINTIFFS PAUL SNITKO,
                                            JENNIFER SNITKO, JOSEPH RUIZ AND
20   UNITED STATES OF AMERICA, ET           TYLER GOTHIER
     AL.,
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              Defendants.                   Date:      July 12, 2021
22                                          Time:      9:00 a.m.
                                            Courtroom: 850, the Honorable
23                                                     R. Gary Klausner
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 1                       DECLARATION OF SA LYNNE ZELLHART

 2        I, SA Lynne Zellhart, declare as follows:

 3        1.   I am a Special Agent with the FBI and have been tasked with

 4   returning to the boxholders of U.S. Private Vaults the property they

 5   lawfully possessed which was stored in their safety deposit boxes.

 6        2.   I personally participated in the inventorying of the

 7   contents of the safety deposit boxes at U.S. Private Vaults.          The

 8   inventory was completed on March 26, 2021.       While inventorying the

 9   contents of the safety deposit boxes, agents recovered drugs

10   including fentanyl and OxyContin, firearms including a Glock, and a

11   variety of ways of storing wealth anonymously, such as gold bullion

12   and especially cash, usually in $100 bills.       Most of the boxes which

13   were not empty contained stacks of $100 bills; many of the boxes were

14   filled with such stacks.    The largest boxes typically contained

15   hundreds of thousands of dollars in cash each, and some contained

16   over $1 million.   Drug detecting dogs alerted to most of the stashes

17   of cash, but not all.

18              Challenges Identifying and Verifying Boxholders

19        3.   It can be difficult to identify the true boxholder because

20   U.S. Private Vaults almost always rented its boxes anonymously.             The

21   FBI often begins, therefore, with a claim submitted to it online by a

22   purported boxholder.    This, however, is not reliable.       Some persons

23   seeking the return of property have forgotten or misremembered their

24   box number, for example.    (In an apparent effort to frustrate law

25   enforcement attempts to trace keys back to particular boxes at USPV,

26   USPV did not mark their keys with either a box number or the name of

27   their business.)

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 1        4.   Further, some individuals have made what appear to be

 2   fraudulent requests.    For example, upon questioning, one person

 3   seeking return of property admitted that, in fact, he had no box at

 4   USPV, but had hoped for a windfall.       Similarly, another person came

 5   to retrieve “his” property, but the keys he brought did not fit the

 6   lock to the box he said was his; later, a completely different

 7   person, this time a woman, claimed to be the owner of that box.

 8        5.   Initially I hoped to use the same iris scanning system

 9   employed by USPV to verify the identity of the boxholders.          While the

10   FBI has not given up on this possibility, we have not been able to

11   duplicate USPV’s iris-scan access system despite considerable effort

12   from our technically trained agents and computer team.

13        6.   Because of the delays recreating USPV’s iris-scanning

14   verification system, I elected to begin returning the contents of

15   boxes to individuals without it when I could be sure of the propriety

16   of their requests for the return of property.        These returns began in

17   the second half of April, 2021.

18        7.   USPV recommends that boxholders include their contact

19   information and/or that of a designated beneficiary in their box in

20   case they die, become incapacitated (for example, by going to

21   prison), or otherwise fail to pay the rent on the box, thereby

22   enabling USPV to reach out to them after drilling open their box for

23   non-payment of rent.    Over half the boxholders included at least some

24   contact information.

25        8.   The contact information included in the boxes ran the gamut

26   from full and current, to old and cryptic.       For instance, some boxes

27   included only a first name and telephone numbers.        One had a hand-

28   written note which said “George, call me at [phone number]” –

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 1   purportedly instructions to USPV manager George Vasquez, from a

 2   customer known to Vasquez.     While some telephone numbers were

 3   correct, others were out of service.      Some boxes contained

 4   conflicting contact information, or only the contact information of

 5   someone who was not the boxholder; in my training and experience,

 6   criminals often attempt to put assets in the names of someone else

 7   whom they trust because they know, for example, that it would look

 8   suspicious for them to own valuable assets if they have no legitimate

 9   income.   Accordingly, the FBI cannot rely solely on the contact

10   information in a box, but must often do additional investigation to

11   identify or verify the true boxholder.

12                   Challenges Returning the Contents of Boxes

13        9.    After verifying the identity of the boxholder, it can

14   nonetheless be difficult and time consuming to return to that person

15   the contents.    The FBI maintains multiple storage facilities

16   throughout Los Angeles County for items in its custody, including

17   separate ones for valuables.     The storage for valuables is especially

18   secure and only specially designated employees may access it, and

19   then only in pairs.    Because most of the boxes at USPV contained

20   valuables, this means that they are stored at one facility, while

21   documents and the locking mechanism for the safety deposit box (which

22   agents need to verify that the person seeking the return of property

23   possesses the key) are stored at another, distant facility.

24   Accordingly, to return valuables, two special agents (per FBI policy

25   for handling valuables) have to visit the secure valuables facility,

26   in addition to at least one agent visiting the general storage

27   facility, prior to meeting with the person seeking the return of

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 1   property to complete the return.      The process also generates

 2   substantial paperwork.

 3        10.   In addition to the logistical problems described above,

 4   scheduling the returns has also proven difficult.        Many times agents

 5   have called to schedule a return, but have gotten no response.          Other

 6   times, persons seeking the return of property have scheduled returns,

 7   but then cancelled just before their appointment, shown up late, or

 8   simply failed to show up for their appointment at all.         Scheduling

 9   returns becomes especially difficult when lawyers for the individuals

10   seeking property insist on being present, which then requires

11   accommodating the lawyer’s schedule, which is often busy, as well as

12   the individuals’.   Recently, two persons seeking the return of

13   property who were scheduled to receive their property cancelled

14   their appointments (in one case twenty minutes prior) in order to

15   hire an attorney first.       Some individuals or their attorneys have

16   asked for priority in getting back their property.         When these

17   requests for priority seem justified, the FBI has attempted to

18   accommodate them, although such changes in scheduling necessarily

19   slow the return of other boxes and make scheduling that much harder.

20   So far as I know, neither the Snitko plaintiffs nor plaintiff Gothier

21   expressed any urgent need for their belongings.        Some persons seeking

22   the return of property have candidly told the FBI that they are in no

23   rush to pick up their belongings, particularly valuables, because now

24   they are getting safe storage for free from the FBI, and would have

25   to make alternative arrangements once they pick up their belongings.

26        11.   Some returns have also been delayed to due staffing

27   shortages at the FBI.    I have had as many as 23 special agents at

28   once conducting returns, in addition to support staff.         However,

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 1   these agents have full investigative caseloads as well, and have

 2   sometimes been pulled away by more urgent matters.         For example, I

 3   have at different times lost agents to various criminal cases

 4   including a real-time kidnapping.

 5                   The Boxes Initially Designated for Return

 6        12.    In round numbers, about 250 boxes have been designated for

 7   return.    That is, the FBI has not begun administrative forfeiture

 8   proceedings against these boxes, and wishes to return them to their

 9   rightful owners.   About 200 of these 250 boxes either have been

10   returned already, or are awaiting pick up by their owners.          All the

11   remaining boxes initially designated for return, somewhat over 40,

12   are waiting because the FBI either cannot identify the boxholder at

13   all, or the boxholders have thus far proven unreachable.

14        13.    Initially the FBI was contacting boxholders to arrange the

15   return of their belongings as agents were available to meet with them

16   and complete the process.     However, in late May 2021, I felt that our

17   progress returning boxes was not fast enough.        On the morning of May

18   27 (before this lawsuit was filed), I directed that all holders of

19   boxes designated for return be notified of that immediately even

20   though the FBI could not, at that time, schedule all those returns.

21        The Boxes Subject to Administrative Forfeiture Proceedings

22        14.    On or about May 20, 2021, the FBI began sending

23   administrative forfeiture notices to the box holders it could

24   identify of boxes it intended to forfeit. It also sent a forfeiture

25   notices to U.S. Private Vaults, Inc. and initiated administrative

26   forfeiture proceedings as to particular identified boxes’

27   contents.    Additionally, on June 4, 2021, the FBI commenced posting a

28   notice for the first wave of the assets seized during the USPV

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 1   seizure on a government forfeiture internet website at

 2   www.forfeiture.gov

 3        15.     The FBI attempted to contact 100% of the identified

 4   boxholders at USPV, either with a notice of administrative forfeiture
 5   for those the government intends to forfeit, or to arrange for the
 6   return of the contents, for those boxes that it does not.          Of course
 7   for the reasons previously described, the FBI has not been able to
 8   reach 100% of the boxholders.     The FBI has completed its initial
 9   determination of which boxes should be returned, and which are
10   subject to forfeiture.    That is not to say that those categories are
11   static, however.    The FBI has and will continue to re-evaluate its
12   position in light of new information; the FBI has already terminated
13   forfeiture proceedings against some boxes after evaluating their
14   owners’ explanations.
15              The Snitko Plaintiffs Have Collected Their Belongings

16        16.     The FBI made multiple attempts to schedule the return of
17   the box belonging to the Snitkos in May.       In June, they collected
18   their belongings.
19     Plaintiff Gothier Has Not Responded to Attempts to Return His Box
20        17.     In late May and early June, the FBI made several attempts
21   to contact Plaintiff Tyler Gothier in order to schedule the return of
22   his property. The FBI was not able to reach him at the phone number
23   he provided.    In June the FBI sent a certified letter inviting
24   Gothier to make an appointment to receive his property.         On June 15,
25   2021 his attorney contacted me, and an appointment is being
26   scheduled.

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 1                Plaintiff Ruiz Was Sent Two Forfeiture Notices

 2        18.    According to our records, the FBI mailed a notice of

 3   administrative forfeiture to plaintiff Ruiz on May 21, 2021, to the

 4   address he provided to the FBI’s online claim portal and a second

 5   notice letter to the same address to Christine Ramirez as

 6   Executor/Conservator because Ruiz’s USPV’s paperwork identified that

 7   address and her as the Executor/Conservator.        While the letter to

 8   Ruiz is being returned as undeliverable, the letter to Ramirez was

 9   received because the FBI has a signed return receipt reflecting that

10   the letter was received.

11        19.    I declare under penalty of perjury under the laws of the

12   United States of America that the foregoing is true and correct and

13   that this declaration is executed at Los Angeles, California, on June

14   21, 2021.

15                                          /s Lynne Zellhart
                                             SA LYNNE ZELLHART
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